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                                                                                       FILED


                               United States District Court
                                  For The District of Wyoming
                                                                                  9:32 am, 5/12/21
                                                                            U.S.MagistrateJudge

WESTERN ENERGY ALLIANCE, and
PETROLEUM ASSOCIATION OF
WYOMING

       Petitioners,

               vs.

JOSEPH R. BIDEN, Jr., in his official
capacity as President of the United States,
SCOTT DE LA VEGA, in his official
capacity as Acting Secretary of the Interior,              Civil No. 21-CV-13-S
and UNITED STATES BUREAUOF
LAND MANAGEMENT,

       Respondents,

Conservation Groups,

        Movant


Business-Coalition

         Movant


       ORDER GRANTING THE CONSERVATION GROUPS’ MOTION TO
 INTERVENE [22] AND GRANTING THE BUSINESS-COLITION’S MOTION TO
                         INTERVENE [23]


      This matter is before the Court on Motions to Intervene [Docs. 22, and 23] by

Biological Diversity, Citizens for a Healthy Community, Conservation Colorado, Dine

Citizens Against Ruining Our Environment, Earthworks, Food & Water Watch, Friends of

the Earth, Great Old Broads for Wilderness, Indian People's Action, Montana Environmental
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Information Center, National Parks Conservation Association, Powder River Basin Resource

Council, Sierra Club, Southern Utah Wilderness Alliance, The Wilderness Society, Valley

Organic Growers Association, Western Colorado Alliance, Western Organization of

Resource Councils, Western Watersheds Project, WildEarth Guardians, Wilderness

Workshop, filed by Movants Center for Biological Diversity, Citizens for a Healthy

Community, Conservation Colorado, Dine Citizens Against Ruining Our Environment,

Earthworks, Food & Water Watch, Friends of the Earth, Great Old Broads for Wilderness,

Indian People's Action, Montana Environmental Information Center, National Parks

Conservation Association, Powder River Basin Resource Council, Sierra Club, Southern

Utah Wilderness Alliance, The Wilderness Society, Valley Organic Growers Association,

Western Colorado Alliance, Western Organization of Resource Councils, Western

Watersheds Project, WildEarth Guardians, Wilderness Workshop (“Conservation Groups”),

and Alterra Mountain Company, Aspen Skiing Company, Hunt to Eat, Roan Creek Ranch,

Thistle Whistle Farm, Western Spirit Cycling, filed by Movants Alterra Mountain Company,

Aspen Skiing Company, Hunt to Eat, Roan Creek Ranch, Thistle Whistle Farm, Western

Spirit Cycling (“Business-Coalition”).

       On January 27, 2021, Petitioners filed a Petitioner for Review [Doc. 1]. On April 19,

2021, both the Conservation Groups and Business-Coalition filed the instant Motions to

Intervene. In the Motions, the movants state they had complied with Local Rule 7.1 wherein

counsel conferred with the attorneys for the other parties about the request to intervene.

Petitioners indicated they took no position on the Motions. Respondents Joseph R. Biden,

Jr., in his official capacity as President of the United States, Debra Haaland, in her official

capacity as Secretary of the Interior, and the United States Bureau of Land Management

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(“Federal Respondents”) informed movants that no position would be taken until after

reviewing the Motions. On April 27, 2021, the Federal Respondents filed Responses to the

Motions to Intervene [Docs. 37 and 38] taking no position on the request to intervene.

       After reviewing the requirements for intervention and taking into account the fact no

current party filed any objection to the proposed intervention, the Court finds the

Conservation Groups and the Business-Coalition should be allowed to intervene. First, the

Motion is timely. “The timeliness of a motion to intervene is determined ‘in light of all of

the circumstances.’” Okla. ex rel. Edmondson v. Tyson Foods, Inc., 619 F.3d 1223,

1232 (10th Cir. 2010).       Next, the movants share a claim or defense with the underlying

actions that share a common question of law and fact, and the relief sought by Petitioners

would directly impact their interests. Fed. R. Civ. P. 24(b)(1)(B). Lastly, the proposed

intervention will not unduly delay or prejudice the adjudication of the original parties’ rights.

Fed. R. Civ. P. 24(b)(3). Therefore, the Conservation Groups’ and the Business-Coalition’s

Motions to Intervene are granted. See Utah Ass’n of Ctys. v. Clinton, 255 F.3d 1246,

1249 (10th Cir. 2001)( stating when considering whether to grant intervention under

Rule 24, the Tenth Circuit follows “a somewhat liberal line”).

       NOW, THEREFORE, IT IS ORDERED Biological Diversity, Citizens for a Healthy

Community, Conservation Colorado, Dine Citizens Against Ruining Our Environment,

Earthworks, Food & Water Watch, Friends of the Earth, Great Old Broads for Wilderness,

Indian People's Action, Montana Environmental Information Center, National Parks

Conservation Association, Powder River Basin Resource Council, Sierra Club, Southern

Utah Wilderness Alliance, The Wilderness Society, Valley Organic Growers Association,

Western Colorado Alliance, Western Organization of Resource Councils, Western

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Watersheds Project, WildEarth Guardians, Wilderness Workshop, filed by Movants Center

for Biological Diversity, Citizens for a Healthy Community, Conservation Colorado, Dine

Citizens Against Ruining Our Environment, Earthworks, Food & Water Watch, Friends of

the Earth, Great Old Broads for Wilderness, Indian People's Action, Montana Environmental

Information Center, National Parks Conservation Association, Powder River Basin Resource

Council, Sierra Club, Southern Utah Wilderness Alliance, The Wilderness Society, Valley

Organic Growers Association, Western Colorado Alliance, Western Organization of

Resource Councils, Western Watersheds Project, WildEarth Guardians, Wilderness

Workshop (“Conservation Groups”), Motion to Intervene [Doc. 22] is GRANTED.

          IT IS FURTHER ORDERED the Alterra Mountain Company, Aspen Skiing

Company, Hunt to Eat, Roan Creek Ranch, Thistle Whistle Farm, Western Spirit Cycling,

filed by Movants Alterra Mountain Company, Aspen Skiing Company, Hunt to Eat, Roan

Creek Ranch, Thistle Whistle Farm, Western Spirit Cycling (“Business-Coalition”) Motion

to Intervene [Doc. 23] is, GRANTED

          IT IS FURTHER ORDERED the caption in this case be amended to reflect this

ruling.

          Dated this 12th day of May, 2021.


                                               ________________________________
                                                ____________________________
                                               Kelly H. Rankin
                                               U.S. Magistrate Judge




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